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Southern District of Texas
PILES

UNITED STATES DISTRICT COURT
for the MAY 20 76%

Southern District of Texas

 

 

 

Davids. Bradley, Cierk of Court
United States of America ) —
Vv. )
JAMES WAYNE HAM Case No. H 14-5 AZM
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Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of 05/17/13 in the county of San Jacinto in the
Southern District of Texas , the defendant(s) violated:
Code Section Offense Description
18 USC Sec 1111(b) and 1114 Murder of Federal Employee - James Wayne Ham murdered an employee of

the United States Postal Service while engaged in or on account of the
performance of official duties.

This criminal complaint is based on these facts:

Please see attached affidavit of U.S. Postal Inspector Matthew S. Boyden

@ Continued on the attached sheet.
Complainant's signature

U.S. Postal Inspector Matthew S. Boyden

Printed name and title

 

Sworn to before me and signed in my presence.

Date: 05/20/2013 Zo >
Yo aga
City and state: Houston, Texas U.S Kn vbr Ju€ge Nancy K. Johnson

Printed name and title

 

 

 
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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

Affiant, United States Postal Inspector Matthew S. Boyden, has been employed by the U. S.
Postal Inspection Service since January 2000. Affiant is currently assigned to the Major
Fraud team in Houston, Texas. Prior to that, Affiant served as a lieutenant of police for a
municipal police department in Texas. Affiant has served in the U.S. Air Force as a Law
Enforcement Specialist and criminal investigator for the Air Force Office of Special
Investigations. Affiant has received specialized training in numerous Postal crimes,
including the investigation of USPS robberies and assaults. Affiant has conducted and
participated in numerous investigations of USPS robberies and assaults since 2000. Affiant
is authorized to obtain and execute Federal Arrest and Search Warrants. This Affidavit is

made in support of a criminal complaint filed against JAMES WAYNE HAM.

The information set forth in this Affidavit is based upon your Affiant’s personal knowledge
and/or information provided to Affiant by other law enforcement agents and officers,
witnesses, bank investigators, and cooperating individuals Affiant believes to be reliable and

credible.

Because this Affidavit is being submitted for the limited purpose of supporting a criminal
complaint, Affiant has not included each and every fact concerning this investigation. Affiant

has set forth only the facts believed to establish probable cause that JAMES WAYNE HAM

has committed violations of federal law.

Affiant has probable cause to believe that on May 17", 2013, James Wayne Ham murdered
United States Postal Service employee Eddie Youngblood while Youngblood was delivering

mail on her route in Coldspring, San Jacinto County, Texas.

On May 17, 2013 at approximately 11:44 AM, the San Jacinto County Sheriff's Office
received a 911 call from Mark Youngblood, the son of USPS employee and victim Eddie
Youngblood. The son stated he was speaking with his mother via cellular telephone while
she was delivering her route when he heard two loud noises that sounded like a “pow, pow”
or “bang, bang”. After asking his mother what had happened, she told him she thought she
had been shot. The son began shouting into the telephone trying to communicate with his

mother when he heard an unintelligible male’s voice over the telephone. The son then heard

 
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his mother say “Please don’t kill me, please don’t kill me”. The call was disconnected by the
son and he was unable to re-establish contact with his mother. At this point the son called
911.

. Numerous law enforcement personnel responded to the area of the Holiday Shores # 4
Subdivision in San Jacinto County which was the area of the victim’s mail route where she
should have been delivering mail at the time of the 911 call. Responding officers located
what appeared to be a Jeep Cherokee 4-door SUV engulfed in flames at the Holiday Shores
#4 Community Water Supply pumping station on Morris Creek Road. Fire and rescue
personnel were summoned to the scene and extinguished the fire. An initial examination of
the vehicle revealed human remains in the passenger seat of the vehicle. The vehicle was
also a right hand steer vehicle commonly used to facilitate USPS delivery operations on rural
routes. The vehicle was heavily damaged by fire. Due to the severity of the fire, the victim
was not identifiable at that time. During the initial evaluation of the crime scene,
investigators were able to identify several apparent bullet holes in the vehicle. The San
Jacinto County Fire Marshall responded to the scene and his initial investigation disclosed
what he described as high concentrations of hydrocarbons in the passenger side front and rear

floor.

. Texas Ranger Grover Huff contacted Coldspring Postmaster Carolyn McCurry who was
identified as the victim’s supervisor. McCurry advised that on 04/29/13, she received a
complaint from James Ham regarding his delivery service. James Ham, who resides at 281
Dejardo Road in the Holiday Shores #4 subdivision, thought the carrier was tampering with
his mail. This address was within walking distance of the burned out vehicle. McCurry
stated she was familiar with Ham because he was the estranged husband of another rural
postal carrier named Angela Ham. McCurry stated she was aware Angela and James Ham
had separated and were in the process of getting a divorce. McCurry stated she was aware
that James Ham had been physically abusive to Angela Ham during their marriage. McCurry
stated James Ham was also familiar with Eddie Youngblood through Youngblood’s
association with Angela Ham. The nature of the complaint was that Ham believed Eddie
Youngblood was withholding his mail and routing it to Angela Ham. McCurry stated Ham
told her “if she did not correct the problem he would go over her head.” McCurry stated she

 
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spoke with Eddie Youngblood about the complaint and did not believe the allegation was

true.

Local law enforcement officers were very familiar with James Wayne Ham because of

several prior encounters with him and felony warrants for his arrest.

The Texas Department of Criminal Justice (TDCJ) was contacted and asked to assist with the
search of the wooded areas surrounding the water supply location. TDCJ personnel utilized
tracking dogs specifically trained to follow or track human scent to search the area. The
tracking dogs were able to track a scent from the area near the burned vehicle toward Dejardo
Lane. The dogs lost the track in a creek less than 400 yards from James Ham’s residence at

281 Dejardo Lane.

Postal Inspectors determined that mail delivery had been completed on Dejardo Lane,
including Ham’s residence. Investigators expanded their search outward from the burned out
vehicle (to include Dejardo Lane) in an attempt to locate additional evidence like broken
automotive glass or shell casings. Officers were able to locate two areas of broken glass on
Dejardo Lane. The broken glass was consistent with automotive glass. The location of the

safety glass was in close proximity to the murder scene.

During the course of the investigation, Investigators interviewed a neighbor near the scene.
The neighbor stated that on 05/17/13, at approx. 11:30 AM, she observed her postal carrier
driving a green Jeep past her residence. She stated between 15 and 20 minutes later she heard
three guns shots followed by a pause then two more gunshots. She indicated the sound of the

shots were northwest of her residence towards Dejardo Lane.

On 05/19/13, James Ham was located hiding in a vacant residence located in the area of
Morris Creek Rd. & Harrell Rd. in the Holiday Shores Subdivision. This is a very short
distance from Ham’s residence and the crime scenes. Ham was apprehended without

incident and transported to the San Jacinto Sheriff's Office.

On the same date, Affiant and Texas Ranger Wesley Doolittle interviewed Ham. Prior to
questioning, Ham was advised of his Miranda warnings both orally and in writing. Ham
acknowledged and waived his rights and agreed to speak with investigators. During the

interview Ham admitted he was having problems with his mail delivery and blamed the
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USPS employee Youngblood. He stated he decided to kill her and then wanted to kill his
estranged wife. On 05/17/13, he loaded his .30-30 rifle, grabbed a bottle of lighter fluid and
extra rifle shells, and hid in the tree line on Dejardo Lane. After the victim delivered his mail
and began leaving on Dejardo Lane, he shot her approximately four (4) times. He then got in
her vehicle and drove it the short distance to the water supply location and doused the vehicle
with lighter fluid and set in on fire. He then returned to his residence. He later hid the rifle
and burned his boots. After the interview he took Affiant and others to the location where he
hid the rifle (which was recovered) as well as the location where he shot the carrier. Shell
casings were recovered from that scene. He provided a written statement admitting his

actions. He was transported to Houston for processing.

14. Based upon the above, the undersigned believes there is probable cause to believe that
JAMES WAYNE HAM has committed crimes in violation of Title 18, United States Code,
Sections 1114 & 1111(b).

WA s. wy —
Matthew S. Boyden
United States Postal Inspector

 

Sworn and Subscribed to me this 20" May, 2013, and I find probab

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United States Magistfate Judge

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